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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA

             Troy Clowdus



                                   PLAINTIFF

             VS.                                             Civil Action No.: 1:21-cv-23155-MM

             American Airlines Inc.,



                                   DEFENDANT.


           PLAINTIFF’S THIRD SET OF INTERROGATORIES TO DEFENDANT

                                       AMERICAN AIRLINES

       PLEASE TAKE NOTICE that the Plaintiff, by and through his attorneys, Stone & Woodrow
       LLP, William T. Woodrow III, Esq., hereby propounds and serves the following
       Interrogatories on Defendant American Airlines, Inc. pursuant to Rule 33 of the F.R.Civ.P.,
       to be answered separately, fully, thoroughly, searching the record, and under oath within 30
       days.

                                              DEFINITIONS

       1. Each interrogatory seeks information available to Defendant, its attorneys or agents, and
          all persons acting on its behalf. Accordingly, as used herein, the term “Defendant” refers
          without limitation to Defendant American Airlines, Inc., its attorneys and agents, and
          persons acting on its behalf.

       2. “Agent” shall mean: any agent, employee, officer, director, attorney, independent
          contractor or any other person acting at the direction of or on behalf of another.

       3. “Person” shall mean the plural as well as the singular and shall include any natural person,
          alive or deceased, and any firm, corporation, proprietorship, joint venture, trust or estate,
          business, association, partnership, or other form of legal entity, unless the context
          indicates otherwise.

       4. The term “document(s)” means any written or graphic matter or other means of
          preserving thought or expression, and all tangible things from which information can be
          processedor transcribed, including the originals and all non-identical copies, whether
          different from the originals by reason of any notation made on such copy or otherwise,

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                                                                                                 EXHIBIT D
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          including, but limited to: correspondence, memoranda, notes, messages, letters,
          telegrams, teletype, telefax, bulletins, meetings or other communications, inter-office
          and intra-office telephone calls, diaries, chronological data, minutes, books, reports,
          charts, ledgers, invoices, worksheets, receipts,returns, computer printouts, prospectus,
          financial statements, schedules, affidavits, contracts, cancelled checks, transcripts,
          statistics, surveys, magazine or newspaper articles, releases (and any and all drafts,
          alterations and modifications, changes and amendments of any of the foregoing) graphic
          or oral records or representations of any kind, including without limitations, photographs,
          charts, graphs, microfiche, microfilm, videotape, recordings, motion pictures; and
          electronic, mechanical or electrical recordings or representations of any kind (including
          without limitations tapes, cassettes, disks, recordings). The term is synonymous in
          meaning and scope to the terms “documents” and “electronically stored information” as
          used in Federal Rule of Civil Procedure 34.

       5. The word “identify” or “identity” when used in reference to a document means and
          includes the name and address of the custodian of the document, the location of the
          document, and a general description of the document, including (1) the type of
          document (i.e., correspondence, memorandum, facsimile, etc.); (2) the general subject
          matter of the document; (3) the date of the document; (4) the author of the document; (5)
          the addressee of the document; and (6) the relationship of the author and the addressee
          to each other.

       6. The word “identify” or “identity” when used in reference to a person shall be understood
          as an instruction to identify the person completely. The identification shall include, but
          not be limited to, the person’s full name, state of incorporation (if applicable), last known
          business address, last known home address (if applicable), last known business,
          profession, or occupation, last known job title, date of birth, driver’s license number, and
          Social Security number.

       7. “Each” shall mean each and every.

       8. “Relating to” shall mean embodying, pertaining to, concerning, constituting, comprising,
          reflecting, describing, discussing, evidencing, referring to, or having any logical or
          factual connection whatever with the subject matter in question.

       9. “This case,” “this litigation,” “this action,” and “this lawsuit” shall mean the lawsuit
          described in the caption to this First Set of Interrogatories.

       10. “Incident” shall mean the set of facts and circumstances forming the basis of the
           Plaintiff’s claims in this lawsuit, including any and all interactions with Defendant on
           June 10, 2021 at Miami International Airport and all internal and external communications
           that were generated by Defendant or any other party as a result thereafter.

       11. The words “you,” “yours” and/or “yourself” mean Defendant, and any agents, attorneys,
           experts, investigators, representatives or other persons, acting, or purporting to act, on
           behalf of Defendant.

       12. The word “Defendant” means American Airlines, Inc., the named Defendant in the
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          above-styled and numbered action, including without limitation its officers, directors,
          representatives, employees, agents, attorneys, and all other natural persons or business
          or legal entities acting or purporting to act on behalf of Defendant.

       13. “Communication” shall mean every manner or means of disclosure, transfer or exchange,
           and every disclosure, transfer or exchange of information whether orally or face-to- face
           or by telephone, mail, electronically, personal delivery, document, or otherwise,
           including without limitation all statements, admissions, denials, inquiry, discussions,
           conversations, negotiations, agreements, contracts, understandings, meetings, telephone
           conversations, letters, correspondence, e-mails, text messages, instant messages,
           iMessages, messages or correspondence via any social media and networking sites, notes,
           telegrams, faxes, and any transmittal of information (in the form of facts, ideas, inquiries
           or otherwise regarding documents as described in this paragraph).

       14. The singular shall include the plural and vice versa; the terms “and” or “or” shall be both
           conjunctive and disjunctive; and the term “including” means “including without
           limitation.”

       15. The words “evidencing”, “regarding”, “reflecting”, or “relates to”, shall mean relating
           to, referring to, connected with, commenting on, responding to, containing, evidencing,
           showing, memorializing, describing, concerning, mentioning, supporting, corroborating,
           demonstrating, proving, evidencing, showing, refuting, disputing, rebutting,
           controverting or contradicting.

                                              INSTRUCTIONS

       1. If you object to fully identifying a document or oral communication because of a
          privilege, you must nevertheless provide the following information without divulging the
          privileged information:

              a. the nature of the privilege claimed (including work product);

              b. if the privilege is being asserted in connection with a claim or defense
                 governed by state law, state the privilege rule being invoked;

              c. the date of the document;

              d. the document’s type (correspondence, memoranda, facsimile, email, etc.),
                 custodian, location, and such other information sufficient to identify the document
                 for a subpoena duces tecum or a document request, including where appropriate
                 the author, the addressee, and, if not apparent, the relationship between the author
                 and addressee;

              e. the general subject matter of the document; and

              f. the identity of all persons who to your knowledge have seen the document.

       2. If you object to part of an interrogatory and refuse to answer that part, state your objection

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          and answer the remaining portion of that interrogatory. If you object to the scope or time
          period of any interrogatory, state your objection and answer the interrogatory for the scope
          or time period you believe is appropriate.

       3. You are under a continuous obligation to supplement your answers to these
          interrogatories under the circumstances specified in the Federal Rules of Civil Procedure.

                                           INTERROGATORIES

       1. For the deceased step-father identified by Federico Quintana in his deposition, please
          identify his position and term of service with American Airlines and the benefit
          package that he received upon death or retirement and what component of those
          benefits conveyed to his surviving spouse, Angelica Cookson. This request includes,
          but is not limited to, the identification of any pension, health insurance, or flight
          benefits that Ms. Cookson still receives and whether any of those benefits extend to her
          son, identifying with particularity whether her son is receiving health insurance
          through American Airlines and whether he is receiving reduced price or standby
          tickets through his mother’s benefits.

   Respectfully Submitted,


   _____________________________
   William T. Woodrow III
   Stone & Woodrow LLP
   Suite 201, Lewis and Clark Plaza
   250 West Main Street
   Charlottesville, VA 22902
   Email: will@stoneandwoodrowlaw.com
   Phone: (855) 275-7378




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                                       Certificate of Service

          The undersigned certifies that a copy of the foregoing document was served upon the
   following attorneys of record by EMAIL on this 11th day of April, 2022.


          Kelly Kolb
          Labor & Employment Practice Group
          401 East Las Olas Boulevard
          Suite 2250
          Ft. Lauderdale, FL 33301
          954 703 3900 (office)
          954 703 3944 (direct)
          kelly.kolb@bipc.com

          Robert D. Pecchio
          Labor & Employment Practice Group
          401 East Las Olas Boulevard
          Suite 2250
          Ft. Lauderdale, FL 33301
          954 703 3900 (office)
          954 703 3944 (direct)
          robert.pecchio@bipc.com

                                                                     _____________________
                                                                      William T. Woodrow III




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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA

             Troy Clowdus



                                   PLAINTIFF

             VS.                                             Civil Action No.: 1:21-cv-23155-MM

             American Airlines Inc.,



                                   DEFENDANT.


           PLAINTIFF’S FIFTH REQUEST FOR THE PRODUCTION OF DOCUMENTS
                          TO DEFENDANT AMERICAN AIRLINES


       PLEASE TAKE NOTICE that the Plaintiff, by and through his attorneys, Stone & Woodrow
       LLP, William T. Woodrow III, Esq., pursuant to Federal Rules of Civil Procedure 26 and
       34, hereby requests that Defendant American Airlines Inc. produces for inspection and
       copying the following documents or items at the offices of Stone & Woodrow LLP at 250
       West Main Street, Suite 201, Charlottesville, VA 22902, within thirty days of the service
       hereof.

                                              DEFINITIONS

       1. Each request seeks information available to Defendant, its attorneys or agents, and all
          persons acting on its behalf. Accordingly, as used herein, the term “Defendant” refers
          without limitation to Defendant American Airlines, Inc., its attorneys and agents, and
          persons acting on its behalf.

       2. “Agent” shall mean: any agent, employee, officer, director, attorney, independent
          contractor or any other person acting at the direction of or on behalf of another.

       3. “Person” shall mean the plural as well as the singular and shall include any natural person,
          alive or deceased, and any firm, corporation, proprietorship, joint venture, trust or estate,
          business, association, partnership, or other form of legal entity, unless the context
          indicates otherwise.

       4. The term “document(s)” means any written or graphic matter or other means of
          preserving thought or expression, and all tangible things from which information can be
          processed or transcribed, including the originals and all non-identical copies, whether

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          different from the originals by reason of any notation made on such copy or otherwise,
          including, but not limited to: correspondence, memoranda, notes, messages, letters,
          telegrams, teletype, telefax, bulletins, meetings or other communications, inter-office
          and intra-office telephone calls, diaries, chronological data, minutes, books, reports,
          charts, ledgers, invoices, worksheets, receipts,returns, computer printouts, prospectus,
          financial statements, schedules, affidavits, contracts, cancelled checks, transcripts,
          statistics, surveys, magazine or newspaper articles, releases (and any and all drafts,
          alterations and modifications, changes and amendments of any of the foregoing) graphic
          or oral records or representations of any kind, including without limitations, photographs,
          charts, graphs, microfiche, microfilm, videotape, recordings, motion pictures; and
          electronic, mechanical or electrical recordings or representations of any kind (including
          without limitations tapes, cassettes, disks, recordings). The term is synonymous in
          meaning and scope to the terms “documents” and “electronically stored information” as
          used in Federal Rule of Civil Procedure 34.

       5. The word “identify” or “identity” when used in reference to a document means and
          includes the name and address of the custodian of the document, the location of the
          document, and a general description of the document, including (1) the type of
          document (i.e., correspondence, memorandum, facsimile, etc.); (2) the general subject
          matter of the document; (3) the date of the document; (4) the author of the document; (5)
          the addressee of the document; and (6) the relationship of the author and the addressee
          to each other.

       6. The word “identify” or “identity” when used in reference to a person shall be understood
          as an instruction to identify the person completely. The identification shall include, but
          not be limited to, the person’s full name, state of incorporation (if applicable), last known
          business address, last known home address (if applicable), last known business,
          profession, or occupation, last known job title, date of birth, driver’s license number, and
          Social Security number.

       7. “Each” shall mean each and every.

       8. “Relating to” shall mean embodying, pertaining to, concerning, constituting, comprising,
          reflecting, describing, discussing, evidencing, referring to, or having any logical or
          factual connection whatever with the subject matter in question.

       9. “This case,” “this litigation,” “this action,” and “this lawsuit” shall mean the lawsuit
          described in the caption to this Request for Production.

       10. “Incident” shall mean the set of facts and circumstances forming the basis of the
           Plaintiff’s claims in this lawsuit, including any and all interactions with Defendant on
           June 10, 2021 at Miami International Airport and all internal and external communications
           that were generated by Defendant or any other party as a result thereafter.

       11. The words “you,” “yours” and/or “yourself” mean Defendant, and any agents, attorneys,
           experts, investigators, representatives or other persons, acting, or purporting to act, on
           behalf of Defendant.

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       12. The word “Defendant” means American Airlines, Inc., the named Defendant in the
           above-styled and numbered action, including without limitation its officers, directors,
           representatives, employees, agents, attorneys, and all other natural persons or business
           or legal entities acting or purporting to act on behalf of Defendant.

       13. “Communication” shall mean every manner or means of disclosure, transfer or exchange,
           and every disclosure, transfer or exchange of information whether orally or face-to- face
           or by telephone, mail, electronically, personal delivery, document, or otherwise,
           including without limitation all statements, admissions, denials, inquiry, discussions,
           conversations, negotiations, agreements, contracts, understandings, meetings, telephone
           conversations, letters, correspondence, e-mails, text messages, instant messages,
           iMessages, messages or correspondence via any social media and networking sites, notes,
           telegrams, faxes, and any transmittal of information (in the form of facts, ideas, inquiries
           or otherwise regarding documentsas described in this paragraph).

       14. The singular shall include the plural and vice versa; the terms “and” or “or” shall be both
           conjunctive and disjunctive; and the term “including” means “including without
           limitation.”

       15. The words “evidencing”, “regarding”, “reflecting”, or “relates to”, shall mean relating
           to, referring to, connected with, commenting on, responding to, containing, evidencing,
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           controverting or contradicting.

                                             INSTRUCTIONS

       1. If you object to fully identifying a document or oral communication because of a
          privilege, you must nevertheless provide the following information without divulging the
          privileged information:

              a. the nature of the privilege claimed (including work product);

              b. if the privilege is being asserted in connection with a claim or defense
                 governed by state law, state the privilege rule being invoked;

              c. the date of the document;

              d. the document’s type (correspondence, memoranda, facsimile, email, etc.),
                 custodian, location, and such other information sufficient to identify the document
                 for a subpoena duces tecum or a document request, including where appropriate
                 the author, the addressee, and, if not apparent, the relationship between the author
                 and addressee;

              e. the general subject matter of the document; and

              f. the identity of all persons who to your knowledge have seen the document.


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       2. If any document herein requested has been lost or destroyed, or is otherwise no longer in
          your possession, custody or control, please submit in lieu of each document a written
          statement which shall:

              a. describe in detail the nature of the document and its contents;

              b. identify the person who prepared or authorized the document and, if applicable,
                 the person to whom the document was sent;

              c. specify the date on which the document was prepared or transmitted or both;

              d. specify, if possible, the date on which the document was lost or destroyed and, if
                 destroyed, the conditions of or reasons for such destruction and the person(s)
                 requesting and performing the destruction; and

              e. if the document was not destroyed, what was done with the document, andthe
                 identity and address of its current custodian or any person with knowledge of its
                 location.



                                  DOCUMENTS TO BE PRODUCED

          1. Regarding the passenger witness deposed by American Airlines, Federico Quintana,
             please produce records identifying all benefits accrued by his late step-father during
             his time of employment as a mechanic with American Airlines, and records
             identifying all benefits still being received by his mother, Angelica Cookson. This
             includes but is not limited to pension, credit union, health insurance, and flight
             privileges such as reduced price and or standby tickets.

   Respectfully Submitted,


   _____________________________
   William T. Woodrow III
   Stone & Woodrow LLP
   Suite 201, Lewis and Clark Plaza
   250 West Main Street
   Charlottesville, VA 22902
   Email: will@stoneandwoodrowlaw.com
   Phone: (855) 275-7378




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                                        Certificate of Service

           The undersigned certifies that a copy of the foregoing document was served upon the
    following attorneys of record by EMAIL on this 11th day of April, 2022.


           Kelly Kolb
           Labor & Employment Practice Group
           401 East Las Olas Boulevard
           Suite 2250
           Ft. Lauderdale, FL 33301
           954 703 3900 (office)
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           Ft. Lauderdale, FL 33301
           954 703 3900 (office)
           954 703 3944 (direct)
           robert.pecchio@bipc.com

                                                                     _______________________
                                                                      William T. Woodrow III




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